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                                             CASE No. 25-2028



                      In THE UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT


                                  ASHLEY M. GJQVIK, an z'ndz'vz'duaZ,
                                              P!az'nt   AppeZZant

                                                        v.
                                        APPLE INC ., 0 corporation,
                                              Defendant-Appellee.


                                On Appeal from the United States District Court
                                     for the Northern District of California
                                               No. 3:23-CV-04597
                                    The Honorable ]udge Edward M. Chen



                          APPELLANT'S REQUEST FOR .IUDICIAL NQTICE:
                            EXHIBITS IV: CASE MGMT STATEMENTS



                                                                    Ashley M. Gjuvik, _ID
                                                                    In Propria Personal
                                                                    2108 N. St. Ste. 4553
                                                                    Sacramento, CA, 95816
                                                                    (408) 883-4428
                                                                    legal@ashleygjovik.com
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                                 GJQVIK V. APPLE

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               1             Plaintiff Ashley Gjovik ("Plaintiff') and Defendant Apple Inc. ("Defendant" or "Apple,    79




               2    and collectively with Plaintiff, the "Parties") hereby jointly submit this Joint Case Management
               3   Statement in advance of the July 16, 2024 Case Management Conference.
               4    1.       JURISDICTION AND SERVICE
               5             This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332 because the amount in
               6    controversy exceeds $75,000 and the Parties are diverse. Defendant has been served.

               7    II.      FACTS
               8             Plaintiff's Position: Apple Inc. intentionally engaged in a course of unlawful conduct and
               9    unfair business practices that resulted in direct, severe, and ongoing harm to Ashley Gjovik as a
              10    neighbor and community member, as an employee, and as a consumer. This lawsuit arises from
              11    Apple's reckless disregard of environmental regulations and safety requirements around two Santa
              12    Clara County properties starting in 2015. Apple's acts and omissions resulted in severe and nearly
              13    fatal physical injuries to Gjovik in 2020, creating continued and present suffering.
              14             Gjovik's complaints and inquiries to Apple about toxic waste in 2021 were swiftly met with
              15    retaliation and intimidation, including the adverse employment actions of unfavorable
              16    reassignment, interrogations, surveillance, five weeks of mandatory administrative leave, sabotage,
              17    denial of benefits and opportunities, suspension, wrongful termination, disparagement, defamation
              18    by reason of termination, denylisting, and more harassment. In the years that followed, Defendant
              19    engaged in extensive surveillance of Plaintiff and trespass of her property, including repeated
              20    burglaries and stalking. Defendant continues to terrorize Plaintiff ongoing, destroyed her reputation
              21    and employability, erased her life savings, and has generally made her life utterly miserable.
              22             Defendant's Position: Plaintiff worked for Defendant from February 2015 until Defendant
              23    terminated her employment in September 2021 because she disclosed confidential product-related
              24    information in breach of her confidentiality obligations and then refused to meaningfully participate
              25    in the internal investigation regarding that disclosure. In January 2015, Plaintiff signed a

              26    confidentiality agreement "prohibit[ing] [Plaintiff], during or after employment, from using or
              27    disclosing, or permitting any other person or entity to use or disclose, any Proprietary Information
              28    without the written consent of Apple[.]" Further, in July 2018, Plaintiff voluntarily agreed to
                                                                                      JOINT CASE MANAGEMENT STATEMENT
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             1   participate in a confidential user study of an internal and proprietary application (the "Application")
             2   and agreed, as a condition of participating, to maintain strict confidentiality. The consent form
             3   permitted Plaintiff to withdraw from the study at any time. On August 28, 2021, Plaintiff publicly
             4   disclosed on Twitter (now known as X) details about a proprietary study Defendant was conducting

             5   about a confidential Apple product (the "Product") that Plaintiff had agreed to keep confidential.
             6   Despite this, Plaintiff's tweet both identified the name and purpose of the study regarding the
             7   Product. On August 30, 2021, Plaintiff tweeted photographs and a video of herself created by the

             8   Application, thus disclosing Apple confidential information. She also linked to a story published in

             9   The Verge, a technology blog, in which she disclosed her participation in the study regarding the
            10   Application. Upon learning of her unauthorized disclosures, Defendant began an investigation. On
            11   September 9, 2021, an Apple investigator requested to speak with Plaintiff as part of that
            12   investigation. Plaintiff refused to be interviewed. Defendant completed its investigation, concluded
            13   that Plaintiff had violated her confidentiality agreements and Apple policy, and terminated her
            14   employment. Apple had likewise terminated the employment of other employees found to have
            15   violated their confidentiality obligations. In addition to her employment claims, Plaintiff asserts
            16   various torts against Defendant. Defendant denies any wrongdoing.
            17   III.     LEGAL ISSUES

            18            Plaintiff" s Position: Legal issues include causation, nexus, intent, negligence, pretext, fraud,
            19   protected activities, fairness, and risk. There will be multiple "Reasonable Person" exercises
            20   including foreseeability, expectation, severity, outrage, consent, offensiveness, endurance, and
            21   interference. The "Right to Know" will be a recurring theme. This case also involves several novel
            22   legal issues requiring policy arguments and creative advocacy from both parties related to privacy,
            23   surveillance, ears, expression, hazards, consent in the employment context, and personal data
            24   collection for commercial research and development.
            25            Defendant's Position: It is too early to determine the legal issues until after the pleadings
            26   have been determined but they likely include: Whether Plaintiff engaged in protected activity under
            27   Cal. Labor Code §§ 98.6, 232, 232.5, and/or 6310 and/or Tameny, and, if so, whether the protected
            28   activity was a substantial motivating reason for Defendant's decision to terminate Plaintiff' s

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               1    employment, Whether Defendant is liable to Plaintiff for a private nuisance or breach of contract,
               2    Whether Plaintiff is entitled to any relief and if so, the type and/or amount, Whether Plaintiff has
               3    adequately mitigated any damages she claims to have incurred.
               4    Iv.      MOTIONS

               5             Plaintiff" s Position: At this time Plaintiff has no definite plans to file additional motions but

               6    is planning to potentially file a Motion for Summary Judgment on certain Questions of Law after
               7    discovery. Plaintiff may also need to file Motions to Compel and other discovery related motions,

               8    based on Defendant's discovery conduct in this case and the U.S. Dept. of Labor case thus far.

               9             Defendant's Position: Defendant intends to file a motion to dismiss on July 15, 2024
              10    regarding certain claims in the now-operative Fourth Amended Complaint. Defendant may file a
              11    motion fer summary judgment under Rule 56 fer resolution of any outstanding issues .
              12    v.       AMENDMENT OF PLEADINGS
              13             Plaintiff" s Position: As this is complex litigation covering multiple legal subject areas ,
              14    Plaintiff expects she will need to amend her complaint again prior to trial to conform with evidence
              15    identified during discovery and/or as the is sues narrow and crystalize. Plaintiff will also respectfully
              16    request leave to amend if any of Defendant's upcoming l2(b)(6) requests are granted.
              17             Defendant's Position: Plaintiff filed a Fourth Amended Complaint on June 17, 2024,
              18    Defendant intends to file a motion to dismiss. Defendant contends that no further amendments
              19    should be permitted.
              20    VI.      EVIDENCE PRESERVATION
              21             The Parties have reviewed the Guidelines Relating to the Discovery of Electronically Stored
              22    Information and have met and conferred pursuant to Federal Rule of Civil Procedure 26(f)
              23    regarding reasonable and proportionate steps taken to preserve evidence relevant to the issues
              24    reasonably evident in this action
              25    VII.     DISCLOSURES
              26             Plaintiff" s Position: Plaintiff will provide initial disclosures to Defendant on July 9 2024, as

              27    required by Rule 26(a)(l) following their meet/confer, and expects Defendant to do the same.
              28             Defendant's Position: Defendant timely and fully complied with the initial disclosure
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               1    requirements of General Order 71 ("GO 71"). Plaintiff has not fully complied with GO 71's
               2    requirements.
               3    VIII. DISCOVERY
               4              Discovery taken to date:

               5          Plaintiff" s Position: Discovery began in the U.S. Dept. of Labor case in March 2024. However,

               6    Plaintiffhad to file a Motion to Compel two weeks ago. It is Plaintiff" s understanding that discovery
               7    did not start in this civil case until the completion of the 26(f) conference in June 25 2024. Plaintiff

               8    believes discovery has now started and she may send Defendant her first Request for Production.

               9          Defendant's Position: None.
              10              Scope of anticipated discovery:

              11              Plaintiff s Position: Plaintiff believes the scope should be nonprivileged matters that are
              12    relevant to any party's claim or defense.
              13              Defendant's Position: Discovery should be stayed until the pleadings are settled because,
              14    until then, the appropriate scope of discovery is unknown (i.e. , neither the Parties nor the Court can
              15    fully determine what matters are "relevant to any party's claim or defense and proportional to the
              16    needs of the case" within the meaning of FRCP 26(b)(1)). Alternatively, discovery prior to
              17    Defendant's answer should be limited to written discovery related to the claims not at issue in
              18    Defendant's forthcoming motion to dismiss .
              19          •   Proposed limitations or modifications of the discovery rules:
              20              Plaintiff" s Position: There will be some overlapping discovery in this case and the U.S. Dept
              21    of Labor OAL] case (with active discovery underway). Because of the potential for conflicts -
              22    especially decisions related to privilege, confidentiality, and exclusion of evidence - coordination
              23    between cases will be urgent and critical to ensuring consistency and progress .
              24              Defendant's Position: Discovery should be limited at this time as outlined above. With this
              25    exception, Defendant contends there should be no modifications of the discovery rules .
                       • A brief report on whether the parties have considered entering into a stipulated e-
              26
                           discovery order:
              27
                              Plaintiff" s Position: Plaintiff is receptive to the idea.
              28
                              Defendant's Position: Defendant does not believe that a stipulated e-discovery order is
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               1    necessary or appropriate in this action.
               2
                             Proposed discovery plan pursuant to Fed. R. Civ. P. 26(f):
               3                o (A) what changes should be made in the timing, form, or requirement for
                                   disclosures under Rule 26(a), including a statement of when initial disclosures
               4
                                     were made or will be made;
               5
                             Plaintiff" s Position:_Initial Disclosures are to be made on Tuesday July 9 2024 in compliance
               6 with Rule 26(a)(1), following the party's June 25 2024 meet and confer. Defendant has not
               7
                   completed its disclosures for any of the claims, but especially for the Toxic Torts, IIED, and antitrust
               8
                   claims - which have no relation to General Order 71, and their applicability in this case is exactly
               9   why General Order 71 does not and should not apply. Defendant needs to provide full disclosures .
              10
                             Defendant's Position: Defendant does not propose any changes to the timing, form, or
              11
                    requirement for disclosures under GO 71. Defendant made its initial GO 71 disclosures on
              12
                    December 18, 2023 and supplemented them on April 5, 2024 and May 15, 2024. Plaintiff has not
              13
                    fully complied with GO 71 's initial disclosure requirements.
              14               o (B) the subjects on which discovery may be needed, when discovery should be
                                   completed, and whether discovery should be conducted in phases or be limited
              15                   to or focused on particular issues;
              16             Plaintiff" s Position: Discovery should commence. Plaintiff recommends phases, starting
              17    with targeted questions that will help narrow the focus of subsequent phases. Plaintiff has also
              18    already offered numerous compromises and accommodations to Defendant, including redactions
              19    and physically viewing sensitive documents at an office for a more focused selection of which
              20
                    documents are needed prior to taking possession. Plaintiff requests guidance of the procedure for
              21    quantity of interrogatories for a lawsuit such as this that is essentially a proactive Rule 18 Joinder
              22
                    of separate claims. Plaintiff has limited resources and will be unable to afford many depositions,
              23
                    but would like to supplement with interrogatories and would benefit from her interrogatory quantity
              24
                    being allotted for at least the whistleblower/labor and toxic tort causes separately (so double).
              25
                             Defendant's Position: Discovery should be stayed until the pleadings are settled.
              26
                    Alternatively, discovery should be limited to written discovery related to the claims not at issue in
              27
                    Defendant's forthcoming motion to dismiss. At this time, it is premature to set a date for the
              28
                    completion of discovery .
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               1                     o (C) any issues about disclosure, discovery, or preservation of electronically
               2
                                        stored information, including the form or forms in which it should be
                                        produced;
               3
                             Plaintiff" s Position: There are already multiple issues related to discovery, including refusal
               4
                    to provide FRCP Initial Disclosures, reliance on boilerplate objections, refusal to provide privilege
               5
                    logs, claims of ACP in conversations where no attorney was present, and insistence on use of
               6
                    blanket protective orders to claim confidentiality of matters that are not confidential (and even on
               7
                    matters that are clearly of the public interest and/or matters of public safety).
               8
                             Defendant's Position: None at this time, other than whether Plaintiff is required to comply
               9
                    with GO 71, and whether discovery should be stayed until after the pleadings are settled.
              10              o (D) any issues about claims of privilege or of protection as trial-preparation
                                 materials, including-if the parties agree on a procedure to assert these claims
              11
                                        after production-whether to ask the court to include their agreement in an
              12                        order under Federal Rule of Evidence 502;
              13             Plaintiffs Position: Concerns about Defendant's willingness to provide privilege logs.
              14             Defendant's Position: None at this time.
                                o (E) what changes should be made in the limitations on discovery imposed under
              15
                                   these rules or by local rule, and what other limitations should be imposed;
              16
                             Plaintiff' s Position: Plaintiff requests scrutiny of any requests from Defendant fer approval
              17
                    of easily abused tools and tactics, such as a blanket protective orders, or frequent vague requests to
              18
                    stay discovery. Plaintiff also requests Defendant be required to 'show their work' for any of these
              19
                    types of requests, and provide a full, proper justification for each issue and request. Plaintiff
              20
                    requests high scrutiny of any requests from Defendant to this Court that appear to be an attempt to
              21
                    censor and silence her - especially about topics like public safety. Plaintiff accepts all responsibility
              22
                    for her conduct and any sanctions if she does actually act improperly.
              23
                             Defendant's Position: Discovery should be limited at this time as outlined above.
              24                o (F) any other orders that the court should issue under Rule 26(c) or under Rule
                                   16(b) and (c).
              25
                             Plaintiff" s Position: Structure would be helpful around depositions, interrogamries,
              26
                    document production, privilege, expert witnesses, discovery disputes, and ADR.
              27
                             Defendant's Position: Defendant proposes no such orders at this time.
              28

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             1         •   Identified discovery disputes:

             2         Plaintiff's Position: There are multiple disputes related to scope, process, confidentiality, and
             3   willingness to participate in discovery. Further, Plaintiff continues to allege, (and her NLRB claim
             4   is still pending a decision), that Defendant's actions in December 2023 under the premise of
             5   General Order 71 and a Protective Order (where Defendant claimed Plaintiff's performance
             6   reviews, health benefits, and EHS complaints were secret and confidential) violated federal law .
             7             Defendant's Position: Plaintiff has not fully complied with the initial disclosure
             8   requirements of GO 71 and should promptly complete her initial disclosures .

             9   IX.       RELATED CASES

            10             Plaintiff's Position: There are no other pending actions in federal or state Courts. There is
            11   one pending agency adjudication within the U.S. Dept of Labor Office of Administrative Law
            12   Judges in Boston, MA (Ashley Gjovik v Apple Inc, Case No. 2024-CER-0000l). Coordination of
            13   cases is required as there are overlapping claims and damages, and Defendant has already taken
            14   several actions to initiate conflicts between and within the two cases. Plaintiff would appreciate
            15   guidance if a Notice of Pendency is appropriate for this type of adjudication, and/or how to request
            16   as sistance with or guidance on the preferred way to coordinate cases with this Court and the OAL]
            17   ALJ. Plaintiff also has multiple charges filed against Defendant with the US NLRB, and the US
            18   NLRB has already found merit that there is substantial evidence the Defendant may have violated
            19   the NLRA under two of her claims, however any litigation would not include Plaintiff as a party .
            20             Defendant's Position: On August 26, 2021, Plaintiff filed a charge against Defendant before
            21   the National Labor Relations Board alleging that Defendant retaliated against her because she
            22   engaged in protected concerted activity. No decision has been issued. On December 29, 2023,
            23   Plaintiff filed another NLRB charge against Defendant alleging that Defendant is forbidding her
            24   from talking about this case by requesting that she enter into a protective order regarding discovery
            25   (modeled on the N.D. Cal. template). No decision has been issued.
            26             On August 29, 2021 and November 2, 2021, Plaintiff filed whistleblower retaliation
            27   complaints with the U.S. Department of Labor (DOL) alleging that her suspension and termination
            28   amounted to retaliation in violation of the Sarbanes-Oxley Act (SOX), the Occupational Safety and

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               1   Health Act (OSHA ll(c)), and the Comprehensive Environmental Response, Compensation and
               2   Liability Act (CERCLA). With respect to her SOX claim, this Court dismissed it with prejudice on

               3   May 20, 2024. With respect to her CERCLA and OSHA ll(c) claims, DOL found no reasonable
               4   cause on December 8, 2023. On January 7, 2024, Plaintiff requested a hearing before the Office of

               5   Administrative Law Judges regarding her CERCLA claim. The hearing is set for the week of March

               6   3, 2025. On April 29, 2024, the Secretary of Labor concluded on administrative review that there
               7   was insufficient evidence to establish any violation of OSHA ll(c), this is a final DOL decision.
               8   x.       RELIEF
               9            Plaintiff's Position: Plaintiff requests damages (compensatory, expectancy, consequential,
              10   punitive, nominal, restitution, tax offsets, interest, pro se attorney's fees, and legal costs), as well as
              11   injunctive and declaratory relief. Estimates for non-pecuniary, punitive, toxic, and other complex
              12   matters will be determined later in the lawsuit or by a jury. In 2020, Plaintiffs total annual pay
              13   without benefits was $386,382. Employment-related damages are estimated at around $10M for
              14   combined back pay, front pay, loss of future earnings, costs, personal injury, and loss of benefits.
              15   A non-pecuniary injury multiplier of 4 x pecuniary is suggested, raising the total to $3lM. An
              16   additional $2M is estimated for interest, tax offset, and attorney's fees. Post-employment IIED
              17   damages would be separate. Toxic Tort compensatory damages will be based on physical and
              18   mental injury, diminished value and lost use of chattel and real property interests, and expenses. A
              19   non-pecuniary injury multiplier of x5 is suggested (risk of disease, fear of cancer, emotional
              20   distress, diminution of quality of life, pain and suffering, and loss of enjoyment of life). The total
              21   amount is expected to be similar or more than the whistleblower and labor damages. Plaintiff will
              22   need to develop a plan to avoid damages conflicts and mange preclusion in this concurrent multi-
              23   jurisdiction litigation. CACI 3924 "Damages on Multiple Legal Theories" will likely be applicable.
              24            Defendant's Position: Defendant denies that Plaintiff is entitled to any recovery in this case.
              25   XI.      SETTLEMENT AND ADR
              26            Plaintiff" s Position: Parties stipulated to an ADR Settlement Conference. However, Plaintiff
              27   is concerned that Defendant will not engage in good faith. Plaintiff asked for confirmation that the
              28   Conference scope would be a global settlement of all of Plaintiffs claims against Defendant seeking

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               1   damages (civil, U.S. Dept. of Labor, US NLRB) - as an earnest Settlement Conference requires
               2   representation of all cases and law firms (i.e., Morgan Lewis). The Defendant has not responded to

               3   this inquiry for over eight months. Plaintiff requests Defendant's candor, and consideration of Early
               4   Neutral Evaluation instead if Defendant is not interested in settling at this time or at all.

               5            Defendant's Position: In accordance with ADR Local Rule 3-5, the Parties met and
               6   conferred regarding ADR options. The Parties intend to stipulate to an ADR process .
               7   XII.     OTHER REFERENCES

               8            Plaintiff" s Position: Plaintiff does not want arbitration and MDL is not applicable. Plaintiff

               9   is interested in the possibility of a special master for discovery disputes .
              10            Defendant's Position: Defendant does not believe that the case is suitable for reference to
              11   binding arbitration, a special master, or the Judicial Panel on Multidistrict Litigation.
              12   XIII. NARROWING OF ISSUES
              13            Plaintiff" s Position: Plaintiff believes that further narrowing of issues should occur through
              14   mechanisms such as discovery, stipulated facts, and summary adjudication. Plaintiff believes
              15   another l2(b)(6) motion is unnecessary and will waste the Plaintiff and Court's time and resources.
              16   Plaintiff also regrets dropping her RICO l962(c), l962(d), Bane, and Ralph claims as she expected
              17   that in voluntarily dropping the claims that Defendant would not file another Motion to Dismiss.
              18            Defendant's Position: On July 15, 2024, Defendant intends to file a motion to dismiss
              19   certain claims in the Fourth Amended Complaint. Defendant believes it is premature to expedite
              20   the presentation of evidence at trial or to request to bifurcate issues, claims, or defenses.
              21   XIV. SCHEDULING
              22            Plaintiff" s Position: Plaintiff suggests scheduling the trial around one year out with the
              23   Court's standard scheduling of dependent events prior. As an expert project manager, she feels
              24   strongly there should always be a project schedule, even if it might need to be adjusted later.
              25            Defendant's Position: Defendant believes that it is premature to set a case schedule prior to
              26   a ruling on Defendant's forthcoming motion to dismiss .
              27   XV.      TRIAL
              28            Plaintiff" s Position:_Plaintiff requests a Jury trial for issues of fact and certain issues of law.

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               1   Duration of the Jury trial is unknown due to the complexity of claims, but Plaintiff expects at least
               2   one week will be needed. Additional time will also be needed for the expected partial Bench trial
               3   with Summary Judgment motions on certain Questions of Law .
               4            Defendant's Position: Plaintiff had made a demand for a jury trial. Defendant anticipates
               5   the parties would need five days for trial.
               6   XVI. DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS
               7            Plaintiff" s Position: Plaintiff has no disclosable non-parties who are interested entities or
               8   persons in the outcome of her side of this litigation.

               9            Defendant's Position: Plaintiff filed a Disclosure of Conflicts and Interested Entities or
              10   Persons. Dkt. 2. Defendant filed a Certification of Conflicts and Interested Entities informing the
              11   Court that there is no conflict of interest (other than the named parties) to report. Dkt. 11.
              12   XVII. PROFESSIONAL CONDUCT
              13            Defendant's Position: The attorneys of record for Defendant have reviewed the Guidelines
              14   fer Professional Conduct for the Northern District of California.
              15   XVIII. OTHER MATTERS
              16            Plaintiffs Position: Due to the complexity of the case and the current dynamic between
              17   parties, Plaintiff sees benefit in regular reoccurring Status Conferences and Updates with the Court.
              18   Plaintiff has already utilized the Court's Pro Se clinic for procedural guidance and plans to continue
              19   utilizing the helpful resources available there.
              20            Defendant's Position: Defendant is not presently aware at this time of any other matters that
              21   may facilitate the just, speedy, and inexpensive resolution of this matter.
              22

              23   Dated: July 9, 2024                                 By:              /s/ Ashley M. Gjovik
              24                                                                        ASHLEY M. GJOVIK
                                                                                                Plaintiff
              25

              26   Dated: July 9, 2024                                 By:               /s/ Jessica R. Perry
                                                                                         JESSICA R. PERRY
              27
                                                                                  Attorneys for Defendant Apple Inc .
              28

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               1            Plaintiff Ashley Gjovik ("Plaintiff') and Defendant Apple Inc. ("Defendant" or "Apple,"
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               5            This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332 because the amount in
               6   controversy exceeds $75,000 and the Parties are diverse. Defendant has been served.

               7   II.      FACTS

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              10   neighbor and community member, as an employee, and as a consumer. This lawsuit arises from
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              15   retaliation and intimidation, including the adverse employment actions of unfavorable
              16   reassignment, interrogations, surveillance, five weeks of mandatory administrative leave, sabotage,
              17   denial of benefits and opportunities, suspension, wrongful termination, disparagement, defamation
              18   by reason of termination, denylisting, and more harassment. In the years that followed, Defendant
              19   engaged in extensive surveillance of Plaintiff and trespass of her property, including repeated
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              23   terminated her employment in September 2021 because she disclosed confidential product-related
              24   information in breach of her confidentiality obligations and then refused to meaningfully participate
              25   in the internal investigation regarding that disclosure. In January 2015, Plaintiff signed a
              26   confidentiality agreement prohibiting Plaintiff from disclosing any confidential information
              27   without Apple's consent. In July 2018, Plaintiff voluntarily agreed to participate in a confidential
              28   user study of an internal and proprietary application (the "Application") and agreed to maintain

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               1   strict confidentiality. On August 28, 2021, Plaintiff publicly disclosed on Twitter (now known as
               2   X) details about a proprietary study Defendant was conducting about a confidential Apple product

               3   (the "Product") that Plaintiff had agreed to keep confidential. On August 30, 202 l , Plaintiff tweeted
               4   photographs and a video of herself created by the Application, thus disclosing Apple confidential
               5   information, and linked to a story published in a technology blog, in which she disclosed her
               6   participation in the Application study. Upon learning of her unauthorized disclosures, Defendant
               7   began an investigation. On September 9, 2021, an Apple investigator requested to speak with
               8   Plaintiff. Plaintiff refused to be interviewed. Defendant completed its investigation, concluded that

               9   Plaintiff had violated her confidentiality agreements and Apple policy, and terminated her
              10   employment. Apple had likewise terminated the employment of other employees found to have
              11   violated their confidentiality obligations. In addition to her employment claims, Plaintiff asserts
              12   various torts against Defendant primarily related to a separate facility at 3250 Scott Blvd. Defendant
              13   denies any wrongdoing.
              14   III.     LEGAL ISSUES

              15            Plaintiff's Position: Legal issues include causation, nexus, intent, negligence, pretext, fraud,
              16   protected activities, fairness, and risk. There will be multiple "Reasonable Person" exercises
              17   including foreseeability, expectation, severity, outrage, consent, offensiveness, endurance, and
              18   interference. The "Right to Know" will be a recurring theme. This case also involves several novel
              19   legal issues requiring policy arguments and creative advocacy from both parties related to privacy,
              20   surveillance, biometrics, expression, hazards, chemical exposure, consent in the employment
              21   context, and personal data collection for commercial research and development.
              22            Defendant's Position: It is too early to determine the legal issues until after the pleadings
              23   have been determined, but they may include: whether Plaintiff engaged in protected activity under
              24   Cal. Labor Code §§ 98.6, 232.5, 1102.5, and/or 6310 and/or Tameny, and, if so, whether the
              25   protected activity was a substantial motivating reason for Defendant's decision to terminate
              26   Plaintiff' s employment, whether Plaintiff is entitled to any relief and if so, the type and/or amount,
              27   and whether Plaintiff has adequately mitigated any damages she claims to have incurred.
              28

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               1   Iv.      MOTIONS
               2            Plaintiff's Position: Depending on the outcome of pending meet and confer, Plaintiff is
               3   preparing to file a motion to Magistrate Judge Westmore requesting assistance regarding privilege
               4   logs and redactions, failure to disclose key witnesses and information, and the very small
               5   production produced by Defendant for the employment and labor claims.

               6            Defendant's Position: Defendant filed a motion to dismiss on July 15, 2024 regarding
               7   certain claims in the now-operative Fourth Amended Complaint. Defendant may file a motion for

               8   summary judgment under Rule 56 for resolution of any outstanding issues.

               9   v.       AMENDMENT OF PLEADINGS

              10            Plaintiff's Position: As this is complex litigation covering multiple legal subject areas,
              11   Plaintiff expects she will need to amend her complaint again prior to trial to conform with evidence
              12   identified during discovery and/or as the issues narrow and crystalize. Plaintiff will respectfully
              13   request leave to amend if any of Defendant's upcoming l2(b)(6) requests are granted, and
              14   proactively proposed possible supplements in Dock. 93 if pleadings are found to be incomplete.
              15            Defendant's Position: Plaintiff filed a Fourth Amended Complaint on June 17, 2024,
              16   Defendant filed a motion to dismiss on July 15, 2024. No further amendments should be permitted.
              17   VI.      EVIDENCE PRESERVATION
              18            The Parties have reviewed the Guidelines Relating to the Discovery of Electronically Stored
              19   Information and have met and conferred pursuant to Federal Rule of Civil Procedure 26(f)
              20   regarding reasonable and proportionate steps taken to preserve evidence relevant to the issues
              21   reasonably evident in this action.
              22   VII.     DISCLOSURES
              23            Plaintiff's Position: Plaintiff provided Initial Disclosures to Defendant following their
              24   meet/confer, as required by Rule 26(a)(l). Plaintiff is currently drafting a supplemented version
              25   and plans to complete disclosures and initial discovery by September 16 2024. Plaintiff had to
              26   purchase discovery software and is currenting reviewing and tagging documents in the tool.
              27            Defendant has not provided complete Initial Disclosures under GO7 l or for other claims.
              28   Defendant still has not disclosed to Plaintiff who was involved in making the decision to terminate

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               1   her employment, the timing of that decision, or their investigations into her and her complaints.
               2            Defendant's Position: Defendant timely complied with the initial disclosure requirements
               3   of General Order 71 ("GO 71"). Plaintiff has not complied with GO 71 's requirements. Pursuant to
               4   the July 16, 2024 Initial Case Management Conference minutes (Dkt. 80), Defendant intends to
               5   complete its Rule 26 disclosures and exchange of high-level documents by September 16, 2024, to

               6   the extent that any non-employment claims remain following a ruling on Apple's pending motions .

               7   VIII. DISCOVERY
               8            Discovery taken to date:

               9       Plaintiff' s Position: Defendant produced a very small batch of documents under GO7 l but most
              10   of the records are not material (they are things Plaintiff already has) and reveals very little.
              11       Deflendant's Position: None.
              12            Scope of anticipated discovery:
              13            Plaintiff's Position: Plaintiff believes the scope should be nonprivileged matters that are
              14   relevant to any party's claim or defense, but Defendant has already refused to provide basic records.
              15   Defendant has even refused to provide Plaintiff" s Employee Relations file, her 2021 performance
              16   review, anything related to the decision to fire her other than final approval, or any of the
              17   agreements Plaintiff signed during her employment other than the offer letter and IPA. Plaintiff
              18   expects to need Judge Westmore's assistance in negotiating scope and production with Apple.
              19            Defendant's Position: Apple expects that the parties will comply with the Court's
              20   instruction in the July 16, 2024 Initial Case Management Conference minutes (Dkt. 80) to complete
              21   Rule 26 disclosures and exchange high-level documents on or before September 16, 2024. After
              22   that point, Apple anticipates propounding and responding to discovery targeted to the claims and
              23   defenses that remain part of the case once the Court has ruled on Apple's pending motion to dismiss
              24   and the pleadings are settled, and will seek the assistance of Magistrate Judge Westmore as needed.
              25            Proposed limitations or modifications of the discovery rules:
              26            Plaintiff's Position: There will be some overlapping discovery in this case and the U.S. Dept
              27   of Labor OAL] case governed by 5 U.S. Code § 554. Because of the potential for conflicts -
              28   especially decisions related to privilege, confidentiality, and exclusion of evidence coordination

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               1   between cases will be urgent and critical to ensuring consistency and progress. Plaintiff is currently
               2   appealing an arbitrary initial dismissal that was based on Apple's unilateral assertion that Superfund

               3   laws do not apply to Apple and which was contrary to all environmental whistleblower precedent.
               4   The ALJ also made statements about 3250 Scott Blvd and noted it was a "Decision on the Merits."

               5   The U.S. Dept. of Labor ARB is supposed to respond to petitions within 30 days.

               6            Defendant's Position: Discovery should be limited as outlined above. With this exception,
               7   Defendant contends there should be no modifications of the discovery rules.

               8       .    A brief report on whether the parties have considered entering into a stipulated e-
               9            discovery order:

              10            Plaintiff's Position: Plaintiff is receptive to the idea.

              11            Defendant's Position: Defendant does not believe that it is necessary or appropriate here.

              12       .    Proposed discovery plan pursuant to Fed. R. Civ. P. 26(1):
                                    O   (A) what changes should be made in the timing, form, or requirement for
              13
                                        disclosures under Rule 26(a), including a statement of when initial disclosures
              14                        were made or will be made;

              15            Plaintiff's Position:_Plaintiff provided 35 pages of Initial Disclosures for all claims in July

              16   2024, in compliance with Rule 26(a)(1), following the June 2024 meet / confer. Plaintiff requested
              17   details from Defendant on what they think is missing. Defendant has not completed its Initial
              18 Disclosures for any claims. Defendant needs to provide full initial disclosures by Sept. 16 2024.

              19            Defendant's Position: Defendant made its initial GO 71 disclosures on December 18, 2023

              20   and supplemented them on April 5 and May 15, 2024. Plaintiff has not fully complied with GO
              21   71 's initial disclosure requirements with respect to her employment claims. Defendant will
              22   complete its Rule 26 disclosures and exchange of high-level documents by September 16, 2024, to

              23   the extent that any non-employment claims remain, and expects Plaintiff will do the same.
                               O (B) the subjects on which discovery may be needed, when discovery should be
              24
                                   completed, and whether discovery should be conducted in phases or be limited
              25                   to or focused on particular issues;

              26            Plaintiff's Position: Plaintiff is unable to take depositions due to financial restrictions and
              27   would like to compensate with an increased quantity of interrogatories. Plaintiff suggests Defendant

              28   should also be restricted from taking Depositions as a matter of fairness, and due to the harassment.

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               1            Deflendant's Position: Apple outlined above its understanding of the Court's order regarding

               2   initial discovery and the appropriate scope of discovery thereafter. At this time, and particularly
               3   given that the pleadings are not yet settled, it is premature to set a discovery completion deadline.
                                    O   (C) any issues about disclosure, discovery, or preservation of electronically
               4
                                        stored information, including the form or forms in which it should be
               5                        produced;
               6            Plaintiff's Position: There are already multiple issues related to discovery, including refusal

               7   to provide FRCP Initial Disclosures, reliance on boilerplate objections, refusal to provide privilege

               8   logs, claims of ACP in conversations where no attorney was present, and insistence on use of
               9   blanket protective orders after Defendant already tried to claim confidentiality of matters that are
              10   protected topics and matters of public concern (work conditions, public safety, labor disputes...).

              11            Defendant's Position: Plaintiff has refused to agree to the entry of the protective order
              12   proposed by Defendant, which was based on the Northern District Model Protective Order.
                                    O   (D) any issues about claims of privilege or of protection as trial-preparation
              13
                                        materials, including-if the parties agree on a procedure to assert these claims
              14                        after production-whether to ask the court to include their agreement in an
                                        order under Federal Rule of Evidence 502;
              15
                            Plaintiff's Position: Concerns about Defendant's willingness to provide privilege logs.
              16
                            Defendant's Position: None at this time.
              17
                               O (E) what changes should be made in the limitations on discovery imposed under
              18                  these rules or by local rule, and what other limitations should be imposed;

              19            Plaintiff's Position: Plaintiff requests scrutiny of any requests from Defendant for approval

              20   of easily abused tools and tactics, such as a blanket protective orders, or frequent vague requests to

              21   stay discovery. Plaintiff also requests Defendant be required to 'show their work' for any of these

              22   types of requests, providing a full, proper justification for each issue and request. Plaintiff requests

              23   high scrutiny of any requests from Defendant to this Court that appear to be an attempt to censor

              24   and silence her - especially about labor issues and public safety. (Plaintiff accepts all responsibility

              25   for her conduct and any sanctions if she does actually act improperly).

              26            Defendant's Position: Discovery should proceed as outlined above.
                               O (F) any other orders that the court should issue under Rule 26(c) or under Rule
              27
                                        16(b) and (c).
              28
                            Plaintiflf"s Position: Plaintiff will seek guidance from Magistrate Judge Westmore as needed
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               1   around depositions, interrogatories, document production, privilege, expert witnesses, and

               2   discovery disputes.

               3            Deflendant's Position: Defendant proposes no such orders at this time.
               4            Identified discovery disputes:

               5            Plaintiff's Position: There are multiple disputes related to scope, process, confidentiality,
               6   and general willingness to participate in discovery.

               7            Defendant's Position: None at this time.

               8   IX.      RELATED CASES

               9            Plaintiff' s Position: There is one pending agency adjudication within the U.S. Dept of Labor
              10   OAL] in Boston, MA (Ashley Gjovik V Apple Inc, Case No. 2024-CER-0000l). Coordination of
              11   cases is required as there are overlapping claims and damages, and Defendant has taken actions to
              12   initiate conflicts between and within the two cases. The ALJ dismissed the entire 42 U.S. Code §
              13   9610 case on August 7 2024 for lack of subject matter jurisdiction based on unilateral statements
              14   from the Defendant and contrary to all environmental whistleblower precedent at U.S. Dept. of
              15   Labor. Plaintiff is filing a petition for review to Administrative Review Board by August 21 2024.
              16   ARB appeals go to the Secretary, and US District Courts have exclusive jurisdiction over CERCLA
              17   civil proceedings (§ 9613) thus the Secretary's decision is reviewed by a US District Court in the
              18   area where the incident occurred, which would be this Court. Plaintiff would appreciate guidance
              19   if a Notice of Pendency is appropriate for this type of adjudication and appellate jurisdiction.
              20   Plaintiff also has multiple charges filed against Defendant with the US NLRB, and the US NLRB
              21   has already found merit that there is substantial evidence the Defendant may have violated the
              22   NLRA under two other claims, however any litigation would not include Plaintiff as a party.
              23            Defendant's Position: On August 26, 2021, Plaintiff filed a charge against Defendant before
              24   the National Labor Relations Board alleging Defendant retaliated against her because she engaged
              25   in protected concerted activity. No decision has been issued. On December 29, 2023, Plaintiff filed
              26   another NLRB charge against Defendant alleging that Defendant, among other things, "threatened
              27   [Plaintiff] in an attempt to coerce her into an lawful secrecy agreement," i. e., a protective order
              28   regarding discovery (modeled on the N.D. Cal. template). No decision has been issued.

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               1            On August 29, 2021 and November 2, 2021, Plaintiff filed whistleblower retaliation
               2   complaints with the U.S. Department of Labor (DOL) alleging that her suspension and termination

               3   amounted to retaliation in violation of the Sarbanes-Oxley Act (SOX), the Occupational Safety and
               4   Health Act (OSHA ll(c)), and the Comprehensive Environmental Response, Compensation and
               5   Liability Act (CERCLA). With respect to her SOX claim, this Court dismissed it with prejudice on

               6   May 20, 2024. With respect to her CERCLA and OSHA ll(c) claims, DOL found no reasonable
               7   cause on December 8, 2023. On April 29, 2024, the Secretary of Labor concluded on administrative

               8   review that there was insufficient evidence to establish any violation of OSHA l l(c), this is a final
               9   DOL decision. On January 7, 2024, Plaintiff requested a hearing before the Office of
              10   Administrative Law Judges regarding her CERCLA claim, the ALJ dismissed that matter for failure
              11   to state a claim on August 7, 2024.
              12   x.       RELIEF
              13            Plaintiff's Position: Plaintiff requests damages (compensatory, expectancy, consequential,
              14   punitive, nominal, restitution, tax offsets, interest, pro se attorney's fees, and legal costs), as well as
              15   injunctive and declaratory relief. Estimates for non-pecuniary, punitive, toxic, and other complex
              16   matters will be determined later in the lawsuit or by a jury. Employment-related damages are
              17   estimated at around $10M for combined back pay, front pay, loss of future earnings, costs, personal
              18   injury, and loss of benefits. A non-pecuniary injury multiplier of4 x pecuniary is suggested, raising
              19   the total to $3 lM. An additional $2M is estimated for interest, tax offset, and attorney's fees. Toxic
              20   Tort compensatory damages are based on physical and mental injury, diminished value and lost use
              21   of chattel and real property interests, and expenses. A non-pecuniary injury multiplier of x5 is
              22   suggested (risk of disease, fear of cancer, emotional distress, diminution of quality of life, pain and
              23   suffering, and loss of enjoyment of life). A Jury will decide Punitive damages, and an estimate is
              24   truly unknown due to the severity and novelty of the harm Defendant caused to Plaintiff.
              25            Defendant's Position: Defendant denies that Plaintiffis entitled to any recovery in this case.
              26   XI.      SETTLEMENT AND ADR

              27            Plaintiflf"s Position: Based on Defendant's conduct thus far, Plaintiff is concerned that
              28   despite Defendant's statements, Defendant actually has no intention to settle. Plaintiff requests

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               1   Defendant's candor and consideration of ENE instead if Defendant is not interested in settling at
               2   this time or at all. Plaintiff is also currently evaluating her options to refuse to be subject to
               3   deposition by Apple's counsel under Marsy 's Law or similar protections due to her severe PTSD,
               4   her role as a witness in open federal investigations, and defendant's ongoing abusive behavior
               5   towards the pro se Plaintiff1 Other common discovery methods should be tolerable. If Defendant
               6   continues to demand to depose Plaintiff prior to a Settlement Conf, Plaintiff will insist on ENE.

               7            Defendant's Position: Defendant is willing to stipulate to a Settlement Conference with a
               8   Magistrate Judge concerning this action. Defendant's representative at that Settlement Conference

               9   will be informed regarding and able to discuss matters Plaintiff has pending against Defendant in
              10   other forums and under other statutes. To prepare for the Settlement Conference, Defendant will
              11   need to take Plaintiff' s deposition and, depending on the substance of Plaintiff's forthcoming GO7l
              12   and FRCP 26 disclosures and the Court's ruling on Defendant's pending Motion to Dismiss,
              13   Defendant may need to serve an initial set of written discovery requests.
              14   XII.     OTHER REFERENCES

              15            Plaintiff's Position: Plaintiff is grateful for the assignment of a Magistrate Judge.
              16            Defendant's Position: Defendant does not believe that the case is suitable for reference to
              17   binding arbitration, a special master, or the Judicial Panel on Multidistrict Litigation.
              18   XIII. NARROWING OF ISSUES
              19            Plaintiff's Position: Plaintiff believes that further narrowing of issues should occur through
              20   mechanisms such as discovery, stipulated facts, and summary adjudication. Plaintiff believes the
              21   pending l2(b)(6) motion is unnecessary and will waste the Plaintiff and Court's time and resources.
              22   However, due to the potential impact of the motion, Plaintiff filed a motion for leave to file a sur-
              23   reply and proposed sur-reply on August 18 2024 in order to ensure she can be heard.
              24            Defendant's Position: On July 15, 2024, Defendant filed a motion to dismiss certain claims
              25   in the Fourth Amended Complaint. Defendant believes it is premature to expedite the presentation
              26   1 CALIFORNIA CONSTITUTION ART. I, § 28 (b) "In order to preserve and protect a victim 's rights to justice
                   and due process, a victim shall be entitled to the following rights: (4) To prevent the disclosure of
              27   confidential information ...to the defendant...which could be used to... harass the victim, (5) To refuse an
                   interview, deposition, or discovery request by the defendant, the defendant's attorney,..., and to set
              28   reasonable conditions on the conduct of any such interview to which the victim consents. "

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               1   of evidence at trial or to request to bifurcate issues, claims, or defenses.
               2   XIV. SCHEDULING

               3            Plaintiff's Position: Plaintiff suggests scheduling the trial around one year out with the
               4   Court's standard scheduling of dependent events prior. As an expert project manager, she feels
               5   strongly there should always be a pro ect schedule, even if it might need to be adjusted later.

               6            Defendant's Position: Defendant believes that it is premature to set a case schedule prior to

               7   a ruling on Defendant's pending motion to dismiss.

               8   XV.      TRIAL
               9            Plaintiff's Position:_Plaintiff requests a Jury trial for issues of fact and certain issues of law.
              10   Duration of the Jury trial is unknown due to the complexity of claims, but Plaintiff expects at least
              11   one week will be needed. Additional time will also be needed for the expected partial Bench trial.
              12            Defendant's Position: Defendant anticipates the parties would need five days for trial.
              13   XVI. DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS

              14            Plaintiff's Position: Plaintiff has none, and encouraged Defendant to consult with the
              15   properly owner of 3250 Scott Blvd and any relevant insurance companies.
              16            Defendant's Position: Defendant filed the required certification. See Dkt. 11.
              17   XVII. PROFESSIONAL CONDUCT

              18            Defendant's Position: Defendant's attorneys reviewed the Professional Conduct Guidelines.
              19   XVIII. OTHER MATTERS
              20            Plaintiff's Position: Due to the complexity of the case and the current dynamic between
              21   parties, Plaintiff sees benefit in regular reoccurring Status Conferences and Updates with the Court.
              22            Defendant's Position: None at this time.

              23
                   Dated: August 20, 2024                               By: /s/ Ashley M. Gjovik
              24                                                                        ASHLEY M. GJOVIK
                                                                                              Plaintiff
              25

              26   Dated: August 20, 2024                               By: /s/ Jessica R. Perry
              27                                                                          JESSICA R. PERRY
                                                                                   Attorneys for Defendant Apple Inc .
              28

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               1            Plaintiff Ashley Gjovik ("Plaintiff") and Defendant Apple Inc. ("Defendant" or "Apple,"
               2   and collectively with Plaintiff, the "Parties") hereby jointly submit this Joint Case Management
               3   Statement in advance of the February II, 2025 Case Management Conference.
               4   1.       JURISDICTION AND SERVICE
               5            This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332 because the amount in
               6   controversy exceeds $75,000 and the Parties are diverse. Defendant has been served.

               7   II.      FACTS
               8            Plaintiff's Position: The plaintiff, a former high-performing senior employee at Apple Inc.,

               9   was subjected to severe and escalating retaliation after reporting serious legal violations within the
              10   company. These violations included unlawful employment practices, restrictions on employee
              11   rights through illegal confidentiality policies, and environmental violations, both at a secret
              12   semiconductor fabrication facility and within Apple's corporate offices. Rather than addressing
              13   these concerns, Apple engaged in a systematic campaign to discredit, intimidate, and ultimately
              14   terminate the plaintiff. The company leveraged its vast resources to isolate her, fabricate pretextual
              15   justifications for adverse actions, and deter her from pursuing legal remedies. The plaintiff's
              16   termination was not an isolated employment decision but the culmination of a deliberate and
              17   coordinated effort to suppress whistleblewing and protect the company's unlawful conduct from
              18   scrutiny.
              19            Apple and its senior executives have already been the subject of multiple lawsuits and
              20   government enforcement actions for labor violations, corruption, and environmental misconduct.
              21   The company has faced legal scrutiny for concealing defects from consumers, engaging in anti-
              22   competitive practices, and retaliating against employees who report wrongdoing. In addition to the
              23   unlawful termination, the plaintiff was subjected to further retaliatory acts, including witness
              24   intimidation, denylisting, and efforts to interfere with regulatory investigations. The evidence will
              25   also show deeply troubling misconduct by Apple's leadership, including the use of coercion and
              26   invasive personal attacks to suppress dissent. The plaintiff's claims are not isolated allegations but
              27   part of a broader pattern of corporate behavior that has drawn the attention of courts and regulatory
              28   agencies alike. This case presents fundamental questions about corporate accountability and
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               1   whether a company of Apple's scale can continue to engage in such misconduct with impunity. A
               2   jury's decision in this matter will determine whether Apple is held accountable fer its actions or
               3   allowed to continue a pattern of unlawful and retaliatory conduct without consequence.
               4            Defendant's Position: Plaintiff worked for Defendant from February 2015 until Defendant
               5   terminated her employment in September 2021 because she disclosed confidential product-related

               6   information in breach of her confidentiality obligations and then refused to meaningfully participate
               7   in the internal investigation regarding that disclosure. In January 2015, Plaintiff signed a
               8   confidentiality agreement prohibiting Plaintiff from disclosing any confidential information
               9   without Apple's consent. In July 2018, Plaintiff voluntarily agreed to participate in a confidential
              10   user study of an internal and proprietary application (the "Application") and agreed to maintain
              11   strict confidentiality. On August 28, 2021, Plaintiff publicly disclosed on Twitter (now known as
              12   X) details about a proprietary study Defendant was conducting about a confidential Apple product
              13   that Plaintiff had agreed to keep confidential. On August 30, 2021, Plaintiff tweeted photographs
              14   and a video of herself created by the Application, thus disclosing Apple confidential information,
              15   and linked to a story published in a technology blog, in which she disclosed her participation in the
              16   Application study. Upon learning of her unauthorized disclosures, Defendant began an
              17   investigation. On September 9, 2021, an Apple investigator requested to speak with Plaintiff.
              18   Plaintiff refused to be interviewed. Defendant completed its investigation, concluded that Plaintiff

              19   had violated her confidentiality agreements and Apple policy, and terminated her employment.
              20   Apple had likewise terminated the employment of other employees found to have violated their
              21   confidentiality obligations. In addition to her employment claims, Plaintiff asserts various torts
              22   against Defendant primarily related to a separate facility at 3250 Scott Blvd., which are the subject
              23   of Defendant's pending motion to dismiss. Defendant denies any wrongdoing.
              24   III.     LEGAL ISSUES

              25            Plaintiff's Position: Legal issues include causation, nexus, intent, negligence, pretext, fraud,
              26   protected activities, fairness, and risk. There will be multiple "Reasonable Person" exercises

              27   including foreseeability, expectation, severity, outrage, consent, offensiveness, endurance, and
              28   interference. The "Right to Know" will be a recurring theme. This case also involves several novel

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               1   legal issues requiring policy arguments and creative advocacy from both parties related to privacy,
               2   surveillance, biometrics, expression, hazards, chemical exposure, consent in the employment
               3   context, and personal data collection for commercial research and development.
               4            Defendant's Position: It is too early to determine the legal issues until after the pleadings
               5   have been determined, but they may include: whether Plaintiff engaged in protected activity under

               6   Cal. Labor Code §§ 98.6, 1102.5, and/or 6310 and/or Tameny, and, if so, whether the protected
               7   activity was a substantial motivating reason for Defendant's decision to terminate Plaintiff's
               8   employment, whether Plaintiff is entitled to any relief and if se, the type and/or amount, and
               9   whether Plaintiff has adequately mitigated any damages she claims to have incurred.

              10   Iv.      MOTIONS
              11            Plaintiff's Position: Defendant has filed five Rule 12(b)(6) motions to dismiss, all of which

              12   Plaintiff has opposed. The latest motion to dismiss remains pending. Plaintiff also has a pending
              13   Motion to Disqualify Defendant's current defense counsel (Dkt No. 156) and Motion to Amend
              14   due to discovery of new evidence (Dkt. No. 155). Plaintiff filed three letters requesting judicial
              15   intervention into discovery disputes between the parties (Dkt. No. 162, 163, 164) and a request for
              16   a court conference to discuss and resolve the disputes, including compelling discovery and
              17   disclosures (Dkt. No. 165).
              18            Defendant's Position: Defendant filed a motion to dismiss on January 7, 2025 regarding
              19   certain claims in the now-operative Fifth Amended Complaint. Defendant may file a motion fer
              20   summary judgment under Rule 56 fer resolution of any outstanding issues.
              21   v.       AMENDMENT OF PLEADINGS
              22            Plaintiff's Position: Plaintiff's motion to amend is currently pending, which seeks to include
              23   claims related to sextortion, revenge porn, violations of the Hobbs Act, and the reintroduction of
              24   RICO and other critical, well-supported claims. (Dkt. No 155). This is complex litigation covering
              25   multiple legal subject areas, Plaintiff expects she will need to amend her complaint prior to trial
              26   when required to conform with evidence identified during discovery and/or as the issues continue
              27   to narrow and crystalize. The complaint should reflect the evidence.
              28            Defendant's Position: Plaintiff filed a Fifth Amended Complaint on November 26, 2024,

                                                                                       JOINT CASE MANAGEMENT STATEMENT
                                                                      3
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               1   Defendant filed a motion to dismiss on Januaiy 7, 2025 . No further amendments should be allowed.

               2   VI.       EVIDENCE PRESERVATION
               3             Plaintiff's Position: Plaintiff has concerns regarding Defendant' s document retention
               4   practices and may need to seek a preservation order. Plaintiff is also very concerned Defendant has

               5   repeatedly stated that it has not engaged the property owner of the tab located at 3250 Scott Blvd

               6   regarding this litigation, and Plaintiff has similar concerns regarding Defendant's external counsel
               7   and contractors »

               8             Defendant's Position: The Parties have reviewed the Guidelines Relating to the Discovery
               9   of Electronically Stored Information and have met and conferred pursuant to Federal Rule of Civil
              10   Procedure 26(f) regarding reasonable and proportionate steps taken to preserve evidence relevant
              11   to the issues reasonably evident in this action.
              12   VII.      DISCLOSURES
              13             Plaintiff's Position: Plaintiff provided detailed Initial Disclosures to Defendant following
              14   their meet and confer, as required by Rule 26(a)(1). Plaintiff also provided a detailed personal
              15   injury-style settlement brochure during the settlement conference, with additional disclosures and
              16   exhibits. Plaintiff's concerns and additional updates are incorporated here from the motions filed
              17   to Judge Kandis A. Westmore at Dkt. No. 162, 163, 164, 165.
              18             Defendant' s Position: The Parties have fully and timely complied with the initial disclosure
              19   requirements of Fed. R. Civ. P. 26. Defendant has fully and timely complied with the initial
              20   disclosure requirements of General Order 71 ("GO 71"). Plaintiff has not fully complied with GO
              21   71's requirements (specifically, she has not provided all documents under (a)-(e), (h), and (j)).
              22   VIII. DISCOVERY
              23         .   Discovery taken to date:
              24         Plaintiff's Position: See motions filed to Judge Kandis A. Westmore at Dkt. No. 162, 163, and
              25   164, 165.
              26         Defendant's Position: On December 3, 2024, Defendant served requests fer production and
              27   interrogatories, responses were due January 2, 2025. Plaintiff has not served responses or produced
              28   documents in response.

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               1       •    Scope of anticipated discovery:

               2            Plaintiff's Position: See motions filed to Judge Kandis A. Westmore at Dkt. No. 162, 163,
               3   and 164, 165.
               4            Defendant's Position: Defendant has produced 468 documents pursuant to GO 71 and the
               5   Court's October 1, 2024 order. It anticipates propounding and responding to discovery targeted to

               6   the claims and defenses that remain part of the case once the Court has ruled on Apple's pending
               7   motion to dismiss and the pleadings are settled, and will seek the assistance of Magistrate Judge
               8   Westmore as needed.
               9       • Proposed limitations or modifications of the discovery rules:
              10            Plaintiff's Position: See motions filed to Judge Kandis A. Westmore at Dkt. No. 162, 163,
              11   and 164, 165.
              12            Defendant's Position: Discovery should be limited as outlined above. With this exception,
              13   Defendant contends there should be no modifications of the discovery rules .
              14            A brief report on whether the parties have considered entering into a stipulated e-
              15            discovery order:

              16            Plaintiff's Position: Plaintiff had repeatedly requested this but Defendant has refused.

              17            Defendant' s Position: Defendant does not believe that it is necessary or appropriate here.

              18       • Proposed discovery plan pursuant to Fed. R. Civ. P. 26(f):
                                    O   (A) what changes should be made in the timing, form, or requirement for
              19
                                        disclosures under Rule 26(a), including a statement of when initial disclosures
              20                        were made or will be made;
              21            Plaintiff's Position:_See motions filed to Judge Kandis A. Westmore at Dkt. No. 162, 163,
              22 and 164, 165.
              23            Defendant's Position: On September 16, 2024, the Parties fully and timely complied with
              24   the initial disclosure requirements of Fed. R. Civ. P. 26. Defendant made its initial GO 71
              25   disclosures on December 18, 2023 and supplemented them on April 5, May 15, and September 16,

              26   2024. Plaintiff has not fully complied with GO 71's initial disclosure requirements .
                              O (B) the subjects on which discovery may be needed, when discovery should be
              27
                                   completed, and whether discovery should be conducted in phases or be limited
              28                   to or focused on particular issues ;

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               1            Plaintiff's Position: See motions filed to Judge Kandis A. Westmore at Dkt. No. 162, 163,
               2   and 164, 165.
               3            Defendant's Position: Defendant outlined above its position as to the appropriate scope of
               4   discovery. At this time, and particularly given that the pleadings are not yet settled, it is premature

               5   to set a discovery completion deadline.
                               o (C) any issues about disclosure, discovery, or preservation of electronically
               6
                                    stored information, including the form or forms in which it should be
               7                    produced;
               8            Plaintiff's Position: See motions filed to Judge Kandis A. Westmore at Dkt. No. 162, 163,
               9   and 164, 165.
              10            Defendant's Position: Plaintiff has refused to agree to the entry of the protective order
              11   proposed by Defendant, which was based on the Northern District Model Protective Order.
                             o (D) any issues about claims of privilege or of protection as trial-preparation
              12
                                materials, including-if the parties agree on a procedure to assert these claims
              13                    after production-whether to ask the court to include their agreement in an
                                    order under Federal Rule of Evidence 502;
              14
                            Plaintiff's Position: See motions filed to Judge Kandis A. Westmore at Dkt. No. 162, 163,
              15
                   and 164, 165.
              16
                            Defendant's Position: None at this time.
              17
                               O (E) what changes should be made in the limitations on discovery imposed under
              18                  these rules or by local rule, and what other limitations should be imposed;

              19            Plaintiff's Position: See motions filed to Judge Kandis A. Westmore at Dkt. No. 162, 163,

              20   and 164, 165.

              21            Defendant's Position: Discovery should proceed as outlined above.
                               O (F) any other orders that the court should issue under Rule 26(c) or under Rule
              22
                                  16(b) and (c).
              23
                            Plaintiff's Position: See motions filed to Judge Kandis A. Westmore at Dkt. No. 162, 163,
              24
                   and 164, 165.
              25
                            Defendant's Position: Defendant proposes no such orders at this time.
              26
                       •    Identified discovery disputes:
              27
                            Plaintiff's Position: See motions filed to Judge Kandis A. Westmore at Dkt. No. 162, 163,
              28
                   and 164, 165.
                                                                                       JOINT CASE MANAGEMENT STATEMENT
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               1            Defendant's Position: Plaintiff has not fully complied with GO 7l's initial disclosure
               2   requirements. Plaintiff has not served responses to Apple's December 3, 2024 requests for
               3   production and interrogatories, which were due on January 2, 2025, nor has Plaintiff produced any
               4   documents in response to the requests for production.
               5   IX.      RELATED CASES

               6            Plaintiff's Position: Plaintiff has filed Notices of Pendency for related cases as they progress
               7   (See Dkt. No. 100, ill, and 151). If Plaintiff's Motion to Amend is granted, she will also file
               8   notices of pendency for the Levoff wire fraud and Moyer bribery of a public official cases. The
               9   status of the current related cases is summarized below.1
                    Agency/Court Case Info.                         Status                                   Dkt. No.
              10
                    Ninth Circuit    Ashley Gjovik v. Apple Inc,    Motion for Reconsideration under         Dkr. 113, 114,
              11    Court of         No. 24-6058, Ninth Circuit     review since Oct. 25 2024 (Dkt. No.      124, 125
                    Appeals          Court of Appeals.              125).
              12    U.S. NLRB        Apple Inc & Ashley Gjovik,     Charge filed: Aug. 26 2021, Complaint Dkt. 111, 151
                                     32- CA-32-CA-282142 &          filed Dec. 18 2024. ALJ Hearing: Aug.
              13                     283161 (NLRA unfair labor      4 2025.
                                     practices)
              14    U.S. NLRB        Apple Inc & Ashley Gjovik,     Charge filed: Oct. 12 2021. Complaint    Dkt. No. 151
                                     32-CA-284428 (NLRA             filed Sept. 27 2024. ALJ Hearing on
              15                     unfair labor practices)        Jan. 22 2025 cancelled due to
              16                                                    settlement discussions.
                    U.S. NLRB         Apple Inc & Ashley Gjovik,    Charge filed Oct. 12 2021, Decision of   Dkt. No. 151
              17                      32-CA-284441 (NLRA            Merit in Jan. 2023, complaint to be
                                      unfair labor practices)   _   issued: nlrb.gov/case/32-CA-284441
              18    U.S. Dept. of     Ashley Gjovik v. Apple Inc,   Charged filed: Aug. 29 2021. Trial       Dkr. No. 100,
                    Labor             OAL] Case No. 2024-           case docketed Dec. 19 2024 (de novo),    151
              19                      CER00001 (The CERCLA:         Appeal filed to ARB on Aug. 21 2024.
                                      42 U.S.C. § 9610)
              20    U.S. Dept. of     Ashley Gjovik v. Apple Inc,   Appeal filed Aug. 21 2024; Briefing      Dkt. No. 100,
                    Labor & U.S.      ARB Case No. 2024-0060        complete on Nov. 6 2024, Awaiting        151
              21    EPA               (The CERCLA; RCRA;            decision. U.S. EPA administration
                                      CAA; & TSCA)                  consulted because Apple's decision
              22                                                    nullifies an EPA statute in the U.S.C.
                    U.s. EPA,         3250 Scott Blvd., Satna       Enforcement actions underway for         Dot. No. 151
              23
                    RCRA Enf.         Clara EPA ID                  hundreds of combined violations of 40
              24
                    &                 CAR000278176. Insp.           CFR Part 262 §§ 262.A & 262.B
                    Compliance        Dates: Aug. 17-18 2023, &     (hazardous waste generation), 40 CFR
              25    Div.              Jan. 16 2024.                 Part 265 §§ 265.1, 265.BB, 265.CC
                                                                    (hazardous waste storage & air
              26                                                    emission), and 40 CFR Part 270 §

              27   ' Note: this table only reflects cases that could have possible res judicata and/or collateral estoppel
                   concerns. The U.S. Dept. of Labor OSH Act investigation cited by Defendant was a discretionary
              28   matter, have no evidentiary hearing, and are not a formal or informal adjudication.
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               1                                                     270.A (no permits).
                     Cal. Bay          3250 Scott Blvd., Santa       Enforcement actions underway for         Dkt. No. 151
               2     Area Air          Clara; CARB Facility ID:      violations No. 64215: Reg. 2, Rule 1,
                     Dist., cal. Air   22839. Complaint No.          §§ 301 & 302 (no permits) - No.
               3     Resources         CPM448152. Insp. Dates:       64216: Reg. 2, Rule 1, §§ 301 & 302
                     board,            Aug. 29 2024 & Sept. 12       (no permits) - No. 64218 & 64219:
               4     Enforcement.      2024.                         Reg. 9, Rule 7, § 307.1 (exceeding
                                                                     nitrogen oxide exhaust limits).
               5
                             Dendans Positio_n: On August 26, 2021, Plaintiff filed a charge against Defendant before
               6
                    the National Labor Relations Board alleging Defendant retaliated against her because she engaged
               7
                    in protected concerted activity. On December 18, 2024, the NLRB issued a complaint pertaining to
               8
                    the August 2021 charge, and it is scheduled for hearing starting on August 4, 2025 .
               9
                             On December 29, 2023, Plaintiff filed another NLRB charge against Defendant alleging
              10
                    that Defendant, among other things, "threatened [Plaintiff] in an attempt to coerce her into an lawful
              11
                    secrecy agreement," i. e., a protective order regarding discovery (modeled on the N.D. Cal.
              12
                    template). No decision has been issued.
              13
                             On August 29, 2021 and November 2, 2021, Plaintiff filed whistleblower retaliation
              14
                    complaints with the U.S. Department of Labor (DOL) alleging that her suspension and termination
              15
                    amounted to retaliation in violation of the Sarbanes-Oxley Act (SOX), the Occupational Safety and
              16
                    Health Act (OSHA ll(c)), and the Comprehensive Environmental Response, Compensation and
              17
                    Liability Act (CERCLA). With respect to her SOX claim, this Court dismissed it with prejudice on
              18
                    May 20, 2024. With respect to her CERCLA and OSHA ll(c) claims, DOL found no reasonable
              19
                    cause on December 8, 2023. On April 29, 2024, the Secretary of Labor concluded on administrative
              20
                    review that there was insufficient evidence to establish any violation of OSHA ll(c), this is a final
              21
                    DOL decision. On January 7, 2024, Plaintiff requested a hearing before the Office of
              22
                    Administrative Law Judges regarding her CERCLA claim, the ALJ dismissed that matter for failure
              23
                    to state a claim on August 7, 2024. On August 21, 2024, Plaintiff filed a petition for review with
              24
                    the Administrative Review Board, the petition remains pending.
              25

              26
                    x.       RELIEF
                             Plaintiff's Position: Plaintiff requests damages (compensatory, expectancy, consequential,
              27
                    punitive, nominal, restitution, tax offsets, interest, pro se attorney's fees, and legal costs), as well as
              28

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               1    injunctive and declaratory relief. Estimates for non-pecuniary, punitive, toxic, and ether complex
               2    matters will be determined later in the lawsuit or by a jury. Employment-related damages are
               3    estimated at around $ loM for combined back pay, front pay, loss of future earnings, costs, personal
               4    injury, and loss of benefits. A non-pecuniary injury multiplier of 4 X pecuniary is suggested, raising

               5    the total to $3 lM. An additional $2M is estimated for interest, tax offset, and attorney' s fees. Toxic

               6    Tort compensatory damages are based on physical and mental injury, diminished value and lost use
               7    of chattel and real property interests, and expenses. A non-pecuniary injury multiplier of x5 is
               8    suggested (risk of disease, fear of cancer, emotional distress, diminution of quality of life, pain and

               9    suffering, and loss of enjoyment of life). A Jury will decide Punitive damages, and an estimate is
              10    truly unknown due to the severity and novelty of the hann Defendant caused to Plaintiff.
              11             Defendant' s Position: Defendant denies that Plaintiff is entitled to any recovery in this case.
              12    XI.      SETTLEMENT AND ADR
              13             Plaintiff's Position: As the Plaintiff warned, a Settlement Conference was not productive
              14    and was used by Defendant as a stalling tactic. If there is further ADR, Plaintiff still requests ENE
              15    instead of a Settlement Conference. The defendant is trying to win this case through procedural
              16    misconduct and suppression of evidence. If Defendant is forced prove their defenses with actual
              17    evidence, then the Defendant would at least have to meaningfully participate in the process.
              18             Defendant's Position: On January 13, 2025, the Parties participated in a settlement
              19    conference before Magistrate Judge Alex G. Tse. The case did net settle.
              20    XII.     OTHER REFERENCES

              21             Plaintiff's Position: Plaintiff expects to require the court's assistance in coordinating the
              22    complex litigation once either party appeal agency adjudicatory decisions to the U.S. Courts,
              23    creating concurrent federal litigation with overlapping and related claims and issues. Defendant's
              24    counsel (at least four firms thus far) have refused to engage in creating a complex litigation plan.
              25             Defendant's Position: Defendant does not seek any further references at this time.
              26    XIII. NARROWING OF ISSUES
              27             Plaintiff's Position: Plaintiff believes that further narrowing of issues should occur through
              28    mechanisms such as discovery, stipulated facts, and summary adjudication. Plaintiff believes the

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               1    pending l2(b)(6) motion is unnecessary and will waste the Plaintiff and Court's time and resources.
               2             Defendant's Position: On January 7, 2025, Defendant filed a motion to dismiss certain
               3    claims in the Fifth Amended Complaint. Defendant believes it is premature to expedite the
               4    presentation of evidence at trial or to request to bifurcate issues, claims, or defenses .

               5    XIV. SCHEDULING

               6             Plaintiff's Position: Plaintiff suggests scheduling the trial around one year out with the
               7    Court's standard scheduling of dependent events prior. As an expert project manager, she feels
               8    strongly there should always be a project schedule, even if it might need to be adjusted later.

               9             Defendant' s Position: Defendant believes that it is premature to set a case schedule prior to
              10    a ruling on Defendant's pending motion to dismiss.
              11    XV.      TRIAL
              12             Plaintiff's Position:_Plaintiff requests a Jury trial for issues of fact and certain issues of law.
              13    Duration of the Jury trial is unknown due to the complexity of claim and Defendant's refusal to
              14    participate in discovery.
              15             Defendant's Position: Defendant anticipates the parties would need five days for trial.
              16    XVI. DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS
              17             Plaintiff's Position: Plaintiff has none and encouraged Defendant to consult with the
              18    property owner of 3250 Scott Blvd and any relevant insurance companies .
              19             Defendant' s Position: Defendant filed the required certification. See Dkt. 11.
              20    XVII. PROFESSIONAL CONDUCT
              21             Defendant' s Position: Defendant' s attorneys reviewed the Professional Conduct Guidelines .
              22    XVIII. OTHER MATTERS
              23             Plaintiff's Position: Due to the complexity of the case and the current dynamic between
              24    parties, Plaintiff sees benefit in regular reoccurring Status Conferences and Updates with the Court.
              25             Defendant's Position: None at this time.

              26             ///
                             ///
              27
                             ///
              28
                             ///
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                                    GJQVIK V. APPLE

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                                       UNITED STATES DISTRICT COURT

                                     NORTHERN DISTRICT OF CALIFORNIA

               Before The Honorable Edward M. Chen, Judge

               ASHLEY GJOVIK,                            )
                                                         )
                                Plaintiff,               )
                                                         )
                  VS   »                                 )     NO. 23-CV-04597-EMC
                                                         )
               APPLE, INC.       I                       )
                                                         )
                                Defendant.               )
                                                         )

                                                   San Francisco, California
                                                   Tuesday, July 16, 2024

                           TRANSCRIPT OF REMOTE ZOOM VIDEOCONFERENCE PROCEEDINGS

               APPEARANCES:

               For Plaintiff:
                                              ASHLEY m. GJOVIK, PRO SE
                                              2108 N Street, Suite 4553
                                              Sacramento, CA 95816

               For Defendant:
                                            ORRICK, HERRINGTON & SUTCLIFFE LLP
                                            405 Howard Street, 7th Floor
                                            San Francisco, CA 94105
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                                            Menlo Park, CA 94025
                                       BY : MELINDA s. RIECHERT, ATTORNEY AT LAW



               REPORTED REMOTELY BY:          Kendra A. Steppler, RPR, CRR
                                              Official United States Reporter
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          1    Tuesday - July 16, 2024                                                  1:30 p.m.

         2                                 PROCEEDINGS
         3                                            -ooo-

         4                  THE COURTROOM DEPUTY :        These proceedings are being

         5     recorded by this court.          Any other recording of this

         6     proceeding, either by audio, video, including screenshots or

         7     any other copying of the hearing, is strictly prohibited.

          8           This Court is now in session, the Honorable Edward M. Chen

          9    presiding.

        10            Court is calling the case Gjovik v. Apple, Inc. , Case

        11     Number 23-4597.

        12            please state your appearance for the record, beginning

        13     with the plaintiff.

        14                  ms. GJOVIK: Hi, I'm Ashley Gjovik.               I'm the

        15     plaintiff.

        16                  THE COURT:     All right.      Good afternoon, Ms. Gjovik.

        17                  ms. GJOVIK:     Good afternoon.

        18                  MS. RIECHERT:      Melinda Riechert appearing for the

        19     defendant, Apple.

        20                  THE COURT:     All right.      Good afternoon, Ms. Reichert.

        21                  MS. MANTOAN:      And Katie Mantoan, also from Orlick,

        22     also appearing for Apple.

        23                  THE COURT:     All right.

        24                  MS. MANTOAN:      Thank you.

        25                  THE COURT:     Thank you, ms. Mantoan.
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          1           I understand that defendants have just filed, maybe

         2     yesterday, a motion to dismiss the most recent complaint; is

         3     that correct?

          4                 MS. RIECHERT:      That's correct, Your Honor.

         5                  THE COURT:     And does it seek dismissal -- I haven't

         6     had a chance to really look at it -- does it seek dismissal of

         7     some or all claims?

          8                 MS. RIECHERT:      Some, Your Honor, not all.

          9                 THE COURT:     Okay.

        10                  MS. RIECHERT:      It keeps the employment claims in,

        11     essentially.

        12                  THE COURT:     Employment claims.         Okay.    So -- and

        13     what ' s      SO far      as I understand it, what's been produced so

        14     far are things primarily along the lines of General Order 71 on

        15     the employment side.         Is that what's -- maybe if someone can

        16     bring me up to date just roughly

        17                  ms. GJOVIK:     yeah .

        18                  THE COURT:         what's been produced so far.

        19                  MS. GJOVIK:     I didn't believe that General Order 71

        20     applied, because the website for the court says it would be

        21     added to the docket.         And I found other cases where it was

        22     specifically noted in the docket and said if it's not noted, it

        23     doesn't apply.

        24            I was also really worried that if we did the General

        25     Order 71, it could interfere with the nonemployment claims.
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          1    That we wouldn't have the normal procedure with the -- all the

         2     claims in the case.

         3                  THE COURT:     well, let me ask the defendants, then,

          4    what's your view -- we have sort of concurrent sets of claims .

         5     Some are employment related that might fall under, in a

         6     traditional situation, General Order 71.                But then there are

         7     environmental and other claims, as well.

          8           What's your vision of how 71 and the rest of discovery

          9    putting aside the question about the stay                   but once

        10     discovery        if there are employment claims remaining and if

        11     there are, for lack of a better word, environmental claims,

        12     should        should General Order 71 apply alongside of normal

        13     discovery, or how do you -- how does the defendant see it?

        14                  ms. RIECHERT:      yeah .   We believe that General Order 71

        15     applies.      If there are employment claims, there are employment

        16     claims, and, therefore, we believe General Order 71 applies.

        17     We complied with General Order 71 with respect to the

        18     employment claims.        The nonemployment claims are the ones that

        19     are subject to the motion to dismiss.

        20                  THE COURT:     Okay .

        21                  MS. GJOVIK:     may -- may I

        22                  THE COURT:     yeah .

        23                  MS. GJOVIK:     Thank you, Your Honor.

        24            I just want to say, if General Order 71 was to apply,

        25     whether it actually did or we just decide to apply it, I would
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          1    say that the defendant has not completed all the disclosures

         2     listed on that page.        There's a lot of stuff I haven't received

         3     yet .   So whether or not it applies, I think there's still more

          4    to do

         5                  THE COURT:    Okay .

         6                  MS. GJOVIK:        even under that umbrella.

         7                  THE COURT:    Okay .   Let me ask about the defendant's

          8    position with respect to the stay.             If -- the motion to dismiss

          9    is directed, you say, at the nonemployment-related claims; is

        10     that correct, Ms. Riechert?

        11                  MS. RIECHERT:     That's correct, largely.

        12                  THE COURT:    Is there -- there's -- so there's no

        13     reason to halt the GO 71 process, at least in these early

        14     stages; is there?

        15                  MS. RIECHERT:     There is none.       And that's why we

        16     complied with it.

        17                  THE COURT:    Okay .   And so the kind of discovery that

        18     you think should be delayed because of the pendency -- what are

        19     you anticipating that that would look like?                Or what kinds of

        20     things that -- would be coming -- you anticipate coming your

        21     way -- that you would like to defer until the ruling on the

        22     pleadings?

        23                  MS. RIECHERT:     Anything that's not related to the

        24     employment claims that are not the subject to the motion to

        25     dismiss .     We don't see there's any benefit to doing discovery
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         1     on a claim that we believe should be dismissed.

         2                  THE COURT:   well

         3                  MS. RIECHERT:   We'd like you to rule on the motion to

          4    dismiss, and then we can do the discovery.

         5                  THE COURT:   All right.   well, let me ask you -- I

         6     mean, it is -- I hear this from defendants of ten, that we'd

         7     like to defer discovery until the pleadings are settled.       And

          8    my usual response is, well, that's not the typical way it's

          9    done, unless there's something pretty extraordinary, like

        10     there's an obvious statute of limitations problem or a standing

        11     problem •

        12            what I typically do is say, well, let's -- let's keep

        13     take into account that there is a pending motion.       But

        14     perhaps -- that there can be the commencement of some

        15     high-level discovery that's not cost-prohibitive but at least

        16     sort of gets the balling rolling, whether it's some basic, you

        17     know, fundamental document productions that are not extremely

        18     voluminous or -- you know -- I don't know.       But, I mean, it

        19     wouldn't be depositions and that kind of thing, at this point,

        20     but kind of just to start that process.

        21            And, you know, the discussions -- if this is one of those

        22     cases where there's a lot of digital documents and searching

        23     you know        the usual discussion about what the scope of the

        24     search is going to be, what documents are retained, how many

        25     custodians, et cetera -- I don't see why those kinds of
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         1     early        the kinds of things you'd do in the first 60 days, or

         2     so, to kind of , you know, lay the groundwork without getting

         3     into deep, extensive discovery, which will come if those claims

          4    survive •

         5            So my inclination is -- I'll call it sort of a staging

         6     process, not a complete halt.           On the other hand, the door's

         7     not wide open .     But at least get some of the preliminaries

          8    done, the groundwork, maybe some basic requests.                 I mean, there

          9    is the early disclosures.           I don't know if         you know        I

        10     mean, the Rule 26 disclosures probably should proceed.

        11                  MS. RIECHERT:     We've done those, as well, Your Honor.

        12                  THE COURT:    Okay .

        13                  MS. GJOVIK:    Only for employment though.           They did not

        14     do it for any of the other claims.

        15                  THE COURT:    All right.      well

        16                  MS. RIECHERT:     So -- so we think that the -- between

        17     the GO 71 disclosures -- we also have the companion Department

        18     of Labor case, and we're going through discovery on that case,

        19     as well .     So we just       we're fine with doing discovery on the

        20     employment cases.       We believe that -- on the employment

        21     claims -- we believe we're doing that -- have done that.                    It's

        22     the nonemployment claims that we think should be dismissed,

        23     that we don't want to open discovery, because that would be a

        24     whole additional area of discovery that we don't think is

        25     necessary at this stage.
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         1                  THE COURT:     All right •

         2                   MS. RIECHERT:     The motion will be ruled on I would

         3     think in a month or SO.

          4                 THE COURT:     well

         5                   MS. GJOVIK:    Your Honor, I was hoping to get your

         6     sorry, go ahead.

         7                  THE COURT:     Go ahead .     Go ahead .

          8                  MS. GJOVIK:    I was hoping to get your guidance today,

          9    because I'm very confused by the motion Apple filed.                     And I'm

        10     new here •     This is my first lawsuit.           But it looks like they're

        11     rechallenging some of the decisions you already made under

        12     this

        13                  THE COURT:     oh, well, I haven't looked at it, so I

        14     can't

        15                   MS. GJOVIK:    Okay .

        16                  THE COURT:     I'm not in a position to give you

        17     guidance.      I mean, if you feel that there's some parts of that

        18     that are improper for some reason, you can -- that can be part

        19     of your response.        But, frankly, I haven't -- I haven't looked

        20     at it.       It just got filed yesterday.

        21                   MS. GJOVIK:    Understood.

        22                  THE COURT:     And normally

        23                   MS. GJOVIK:    My thought, though, is they're

        24     challenging ultrahazardous under the exact same theory that

        25     they did last time that you already approved to go forward.
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                   Case 3=289/968§§3988|85/286%%2n§@n9'%§"'"EaFe7d?ué?6'83444 og,3g7e g of 22   9



         1     And then they had waived nuisance, because they didn't

         2     challenge nuisance, but now they're challenging it.

         3            So I agree with your staging, and that's probably

          4    practically right too, but I also am kind of worried about

         5     halting everything else if it seems unlikely, procedurally,

         6     that they would even be considered.

         7                  THE COURT:    well, I'm not going to weigh in, because I

          8    haven't looked at it on the potential merits.                But my usual

          9    rule -- which I will apply here because I think there's a low

        10     cost -- and that is I do want to start the wheels                    the

        11     gears -- turning on the nonemployment stuff.                I'd like you to

        12     meet and confer to talk about --

        13                   MS. RIECHERT:    On the employment stuff?

        14                  THE COURT:    On the nonemployment stuff.           The

        15     employment stuff will be covered by General Order 71

        16                   MS. RIECHERT:    Okay.

        17                  THE COURT:        in the early disclosures.           I think

        18     there should be the early disclosures on the nonemployment

        19     stuff.       And I'd like you to meet and confer to talk about, you

        20     know, sort of a -- what discovery               high-level discovery

        21     might look like over the next, let's say, 60 days.                  Then maybe

        22     a handful of key documents that could be exchanged or that

        23     could be sought.       Information about document retention, if

        24     that's an issue -- what's available and what -- you know

        25     what the lay of the land is in terms of access to
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                  Case 3=2s9€&'6h§§¥%?i9c05/%0488?n%n'?§""¥i|33 -38)3893445 gage 10 of 22   10


         1     documentation.

         2            So I think a fair amount can be accomplished without

         3     getting deep into discovery in the next 60 days while I have a

          4    chance to look at the motion and then hopefully rule on it

         5     quickly.      And then we can decide.       If I decide to dismiss all

         6     those claims, then there wouldn't be a whole lot of time

         7     invested in it.     A little bit.       But at least it opens the door

          8    then.    If there's some claims that survive, We'd be set up to

          9    go to the next stage.        So I'd like you to meet and confer

        10     about -- I call it "Stage 1."

        11                  MS. RIECHERT:    Your Honor, if I might speak briefly on

        12     that subject --

        13                  THE COURT:    yeah .

        14                  ms. RIECHERT:          with respect to the meet-and-confer.

        15     We did meet-and-confer with the plaintiff with respect to the

        16     motion to dismiss.        The plaintiff wanted to record that call.

        17     We said that we did not.        I declined to allow her to record the

        18     call, and she recorded the call anyway.           And SO I would like

        19     for us not to have to meet-and-confer.           We believe that the

        20     recording was not permitted by California law.             And I don't

        21     think we should be required to meet-and-confer and have calls

        22     recorded against my consent and in violation of California law.

        23                  THE COURT:    Okay .

        24                  MS. GJOVIK:    Your Honor, the defendant is

        25     intentionally misrepresenting what that was.            That was me
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                  Case 3=2s9€&'6h§§¥%?i9c05/%0488?n%n'?§""¥i|33 -38)3893446 gage 11 of 22       11


         1     gathering evidence for a pending NLRB proceeding where these

         2     lawyers were named in December, and it was further evidence of

         3     that to give strictly to NLRB as part of their investigation as

          4    well as a new charge.        I explained this.

         5            And the recent Starbucks NLRB decision last year made very

         6     clear that the Gammon preemption applies to those two-way

         7     consent laws if you're gathering evidence for NLRB.              So I'm

          8    kind of distressed they continue to bring it up with this

          9    framing, which sounds like I'm -- have misconduct, but I'm

        10     actually trying to help the government investigate.

        11            I'm also kind of concerned because, even before that

        12     recording, Apple repeatedly refused             they didn't want to meet

        13     and confer.     The last time we talked about meet and conferring,

        14     they demanded there be no witnesses or record.             But they've

        15     already used that meeting we had -- the one without a court

        16     reporter or anything -- and I feel like misrepresented our

        17     conversation in my Department of Labor case.            And I filed a

        18     complaint about that.

        19            So I -- I would be happy to meet with Apple and talk.                 I

        20     do prefer to have a record based on, I mean, what's happening

        21     in this lawsuit.     But that's also part of my lawsuit from three

        22     years ago

        23                  THE COURT:    All right.   well, there's

        24                  MS. GJOVIK:    -- is this kind of stuff.

        25                  THE COURT:    There are separate issues here.        Whatever
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                  Case 3=2s9€&'6h§§¥%?i9c05/%0488?n%n'?§""¥i|33 -38)3893447 gage 12 of 22   12


         1     you do with respect to MLRBs is a separate question.              I'm

         2     talking about meeting and conferring to see if you can come to

         3     an agreement •    There's nothing binding coming out of that until

          4    there's an agreement        So there's no need to record that.

         5            And I can't order and I won't order, at this juncture,

         6     recording of an informal meet-and-confer just to see if you can

         7     agree on a discovery plan for the next, let's say, 60 days or

          8    90 days.      It's a very narrow scope.      It's not intended for

          9    anybody to make admissions.        It's intended to say here's what

        10     we can do, et cetera, et cetera.

        11            Now, if it gets to a point where the parties continue to

        12     have differing versions of, well, you agree to do X, and I

        13     agree to do Y; no, you didn't agree to do X, et cetera, et

        14     cetera, you know, then I will consider, you know, other --

        15     other things.

        16            Now, one of the things I am considering and I will do

        17     I'm also going to appoint a magistrate judge to assist with

        18     discovery.      And if there's a problem with the meet-and-confer,

        19     there's somebody you can go to very quickly if -- that can

        20     manage this discovery.       So I'm going to assign that.         It will

        21     go to a randomly assigned magistrate judge.            And you'll get

        22     notice of that.

        23                  MS. GJOVIK:    Your Honor

        24                  THE COURT:    But that magistrate judge will act under

        25     my directive       And that is for the parties to meet-and-confer,
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         1     figure out phase 1           or Stage 1     of the nonemployment.       That

         2     the GO 71 will apply concurrently to the employment so that

         3     we're not at a total standstill.          But discovery's got to

          4    proceed sort of phased.        Because if I end up dismissing all the

         5     nonemployment cases, then there won't be any more discovery.

         6     So we will address that.

         7            So I will give some overall directive with respect to

          8    staging.      But in terms of working out the details, if there's

          9    dispute over what the scope should be for phase 1, I want the

        10     magistrate judge to help you all resolve that.             So

        11                   MS. RIECHERT:   Can we have an agreement with           from

        12     Your Honor that she will not record any phone calls that we

        13     have going forward?

        14                   ms. GJOVIK:    I gathered evidence for the federal

        15     government for an ongoing

        16                  THE COURT:     Okay.

        17                   ms. GJOVIK:      government investigation.

        18                  THE COURT:     what I'm going to order is that, with

        19     respect to this case, any meet-and-confer, whether it's by

        20     phone or live, will not be recorded unless I order or the

        21     magistrate judge orders otherwise.

        22            I don't have jurisdiction over whatever NLRBs.            If there's

        23     a call with respect to some other proceeding, I don't have

        24     jurisdiction over that, so I can't say "yes" or "no" on that

        25     front.       So your conversations should be clear that if you're
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         1     talking about this case before me, that won't get recorded.

         2     Now, if you want to have another conversation about NLRB

         3     evidence gathering, that's between you all and the NLRB, not

          4    I'm not intervening there.

         5                  MS. GJOVIK:    Understood, Your Honor.       I am concerned
         6     though        I mean, this is four years running           about

         7     misrepresentations of communications when they're not written.

          8    This has been an ongoing issue with the defendant.              And I even

          9    asked if I can bring a witness just to sit with me, so if

        10     someone had to testify to what happened, there could be someone

        11     tl'1at ' s not just me .   And they said "no, " expressly.       If

        12     recordings are completely forbidden, can I get approval to have

        13     a witness with me?

        14                  THE COURT:    I'm going to allow the magistrate judge to

        15     determine what is the best process for you all to

        16     meet-and-confer, whether you meet and confer in a physical

        17     place, maybe with a magistrate judge, or, you know, you can

        18     talk to the magistrate judge about the disputes you've had and

        19     whether it makes any sense or not, at this point, until further

        20     developments.

        21            So let me ask about ADR.       Defendant indicates that there's

        22     been a meet-and-confer, but -- and I see that plaintiff's

        23     preference -- what are your thoughts about mediation or some

        24     form of ADR?

        25                  MS. RIECHERT:    We're willing to consider it at some
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          1    point, Your Honor; we just think it's premature right now.

         2                  THE COURT:   All right.    Would that "some point" likely

         3     be, for instance, after the pleadings are set?

          4                 MS. RIECHERT:   Potentially.     And I -- maybe some

         5     deposition -- the deposition of the plaintiff.             I'm not sure

         6     yet.    Usually I like to take the deposition of the plaintiff to

         7     be able to provide a full case assessment to my client.

          8                 THE COURT:   All right.

          9                 MS. RIECHERT:   And then we can talk about

        10                  THE COURT:   And that's one of the things I also want

        11     you to meet-and-confer about .        Because, normally, I also phase

        12     discovery in terms of trying to -- with an eye towards ADR.

        13     That is, there has to be a certain amount of exchange of

        14     information to have the parties intelligently talk about their

        15     settlement position.       And it may be sometimes that depositions

        16     are required, sometimes not, if it's a document-heavy case.

        17     But if it's one of those cases where a deposition is required,

        18     sometimes I'll allow each side to take a deposition, maybe two.

        19            But I'd like you to meet-and-confer to talk about,

        20     number one, which form of ADR, whether you want mediation,

        21     Court-sponsored, private mediation, settlement conference

        22     before another magistrate -- a different magistrate judge than

        23     the discovery judge -- and then what kind of discovery do you

        24     need in order to prepare for that ADR process.             I'd like for

        25     you to discuss that, also, so that when we come back together
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         1     next time, we have a plan.           So that will also be included in

         2     the meet-and-confer.

         3                  MS. GJOVIK:    Your Honor, may I ask a question?

          4                 THE COURT:    yeah .

         5                  MS. GJOVIK:    yeah .   So the General Order 71 -- I

         6     assume you're referring to that as kind of the general, like,

         7     employment whistleblower case portfolio.           The scope is really

          8    prescribed on it.      And there is stuff that I would want to

          9    request beyond just what's on that paper and some stuff I don't

        10     think would apply.        Are you saying more like start discovery

        11     generally on the employee

        12                  THE COURT:    yeah.     I mean, the way      the way General

        13     Order 71 works, it's like an initial phase.            I mean, there's

        14     some things that should be produced in every case, whether it's

        15     the employment file, whether it's            you know       et cetera, et

        16     cetera •     That's not to say that's the only discovery you get,

        17     because       but it's meant to get that early exchange out often

        18     to facilitate, for instance, a mediation or to guide future

        19     discovery.

        20            So it does not -- I don't think -- and I've never used

        21     General Order 71 to say, well, that's -- that's the lid.               You

        22     still have rights under the Federal Rules of Civil Procedure.

        23     There's a presumptive limit on the number of depositions, the

        24     number of interrogatories, et cetera, et cetera.             But this is

        25     intended to get the basic information out without having to go
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         1     through the formal process of formally requesting the

         2     employment file or the wage records or that kind of thing.

         3                  MS. GJOVIK:    So, for now, do you want us to stop at

          4    the scope of General Order 71?

         5                  THE COURT:    I think     since we're only talking about

         6     60 days, I think whatever is to be exchanged under General

         7     Order 71 plus the early disclosures under Rule 26                that

          8    should give you a pretty good start.          And then let's revisit it

          9    once we hear the motion to dismiss, and We'll get a better idea

        10     where this is at.

        11            So you've noticed the date -- what date have you noticed,

        12     Ms. Riechert, for the hearing --

        13                  MS. RIECHERT:    I think it's the 22nd of August.

        14                  THE COURT:    Okay .   well, then I'll double that up as a

        15     further status conference, as well, so we can talk about some

        16     of these things, including ADR, further discovery, et cetera,

        17     et cetera.      Hopefully, at that point, I can give you a pretty

        18     good idea where I see that motion to dismiss.             If I don't rule

        19     from the bench, you'll certainly get a flavor for where I think

        20     it's going and what may be left.         So We'll double that up as a

        21     hearing on the motion as well as a status conference.

        22            Meanwhile, I will appoint a magistrate judge to assist you

        23     with any meet-and-confer disputes, or discovery disputes, scope

        24     questions.      And then We'll talk about ADR.        I'd like you to

        25     think about whether you -- what form of ADR would be useful .
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         1            Let me ask      I do have a question about the relationship

         2     between the various administrative actions here that are going

         3     on •   There's

          4                 MS. GJOVIK:   Department of Labor and NLRB.

         5                  THE COURT:    And NLRB.   what is -- what are the

         6     parties' views about the interrelationship and the effect of

         7     one versus -- on the other?        Is this Court -- will the NLRB

          8    proceeding, for instance, or Department of Labor -- will that

          9    affect --

        10                  MS. GJOVIK:   yes •

        11                  THE COURT:      the scope of this case?

        12                  MS. GJOVIK:   And vice versa.      I'm expecting claim

        13     preclusion issues, at least probably through NLRB, even though

        14     I wouldn't be a party.       Department of Labor is going to be some

        15     of the exact same questions we're asking in this case.               So my

        16     plan was to figure out which one can go first and -- which one

        17     I'd prefer -- but I wouldn't do both, because, of course, you

        18     don't want to do it twice.

        19            I was also      I've mentioned in the memo           hoping if

        20     there's some way we can do some kind of coordination with the

        21     ALJ on Department of Labor since that's a concurrent hearing.

        22     But there's been a lot of confusion about how these cases

        23     interact .    Like, defendant introduced one of my civil

        24     complaints as -- to the Department of Labor judge and asked him

        25     to read that in as part of their case.           It's just been weird.
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         1     So if there's a notice of pendency I'm supposed to file or some

         2     kind of request that there can be some kind of coordination,

         3     I'd like to do that.

          4                 THE COURT:    All right.

         5            Ms. Riechert, your views about the interrelationship and

         6     whether there's something we should do to take into account

         7     these administrator proceedings?

          8                 MS. RIECHERT:   I believe we filed a notice of pendency

          9    or we indicated in our case management conference statement

        10     that there were with these related proceedings.             The Department

        11     of Labor case is going to trial next March.            And it will

        12     involve the same claims -- many of the same claims -- that we

        13     have here.      We do have a motion to dismiss in that case.           But

        14     if the motion to dismiss is not granted in full, then there is

        15     a hearing set for next March.

        16                  THE COURT:    And that will result in some adjudication

        17     after administrative hearing and evidentiary hearing?

        18                  MS. RIECHERT:   That's correct, Your Honor.

        19                  MS. GJOVIK:   notice and hearing and opportunity to

        20     the formal Administrative Procedure Act hearing.

        21                  THE COURT:    And SO

        22                  MS. RIECHERT:    And SO we believe that it would be a

        23     determination of whether the plaintiff, for example, was fired

        24     for the reasons Apple stated or for the reasons the plaintiff

        25     stated .
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         1                  MS. GJOVIK:    which is

         2                  MS. RIECHERT:    But, again, we do have a motion to

         3     dismiss pending in that case too.

          4                 MS. GJOVIK:   which is why I'm very concerned about the

         5     lack of coordination.        Because these cases could impact each

         6     other SO much on some very specific issues.            And, so far, it's

         7     mostly just been me trying to coordinate from, like, the

          8    background.      And I don't think it's

          9                 THE COURT:    well, when you say "coordinate, " what do

        10     you have in mind?

        11                  MS. GJOVIK:   So I don't know how this works either.            I

        12     was reading the Conflicts Litigation Guide, and it sounds like,

        13     depending on -- when you have multi-jurisdiction cases, it's

        14     kind of customized for each situation.           And sometimes there is

        15     help from usually the federal court of kind of getting the

        16     ALJ -- I don't know if you guys talk to each other -- but kind

        17     of aligning decisions and making sure when it's a decision like

        18     exclude evidence or something that could very much impact how

        19     the trial would go in the other case -- that both judges talk

        20     about it before they'd make that decision.

        21            Because Apple's -- in their motion to dismiss in

        22     opposition to my motion amend in the Department of Labor case

        23     are trying to exclude things already that would also then be

        24     excluded in this case.

        25                  THE COURT:    Well, I don't -- I'm not familiar with all
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         1     the rules there.      So I don't know.      Their rules of evidence may

         2     be different.     Their rules of procedure may be different.

         3            Ms. Riechert, do you have any comments on coordination, or

         4     not, or what this Court should do in light of these other

         5     pending administrative proceedings?

         6                  MS. RIECHERT:    NO.   I don't      I don't think that

         7     there's any way to coordinate the two.           They should go forth in

          8    parallel .

          9                 THE COURT:    yeah .   I don't -- sometimes we coordinate

        10     with state courts that have parallel claims.            Sometimes -- you

        11     know -- or with another federal court.           But with respect to an

        12     agency, I'm loath to sort of interfere with whatever an agency

        13     is doing .     And I don't know what might happen in terms of any

        14     claim preclusion or not.        I guess We'll just have to cross that

        15     bridge when we get there.

        16                  MS. GJOVIK:    I didn't think of separation of powers.

        17     You're right.     You probably can't go to the agency.

        18                  THE COURT:    yeah .

        19                  MS. GJOVIK:    Okay.   That makes sense •

        20                  THE COURT:    All right.   So -- well, We'll keep those

        21     in mind .     And We'll see what happens in that regard.          But I do

        22     have those in mind.        And we will have to -- and I'm sure that

        23     the administrative agencies know there's this pendency of this

        24     case and -- but, other than that, I don't know what else I can

        25     do .
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         1            So let's -- let's just move forward on this pending

         2     motion.      Let's move forward on discovery, hopefully with a plan

         3     that you can agree to with or without the help of the

          4    magistrate judge, and talk about an ADR process also when we

         5     get together next month.         So it looks like I'll see you in

         6     August it sounds like.

         7                  MS. RIECHERT:     Thank you very much, Your Honor.

          8                 THE COURT:     Great.   Thanks, everyone.

          9                  MS. GJOVIK:   Thank you.

        10                  THE COURT:     Thank you, Your Honor.

        11                       (Proceedings adjourned at 1:53 p.m.)

        12                                          -ooo-

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        14                               CERTIFICATE OF REPORTER

        15                   I certify that the foregoing is a correct transcript

        16     from the record of proceedings in the above-entitled matter.

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        18     DATE :       Thursday, August 1, 2024

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        22                           Kendra A. Steppler, RPR, CRR

        23                      Official Reporter, U.S. District Court

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